                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

ERNEST KEVIN TRIVETTE, et al.                 )
          Plaintiff,                          )
v.                                            )       No. 3:20-cv-0276
                                              )
TENNESSEE DEPT OF CORRECTION,                 )
          Defendant.                          )

              TENNESSEE DEPARTMENT OF CORRECTION’S REPORT

      On May 5, 2021, the Court ordered that defendant, Tennessee Department of Correction

(TDOC) work with Disability Rights Tennessee, inmate Alex Stinnett and inmate Jason Collins to

evaluate potential temporary options to enable Mr. Stinnett and Mr. Collins to have videophone

access in prison without the need for assistance, accompaniment, or special supervision by prison

officials for each use until such time as TDOC installs its anticipated new telecommunications

systems. (DE 60 Order, PageId #1115). Further, the Court ordered that within three months of

May 5, 2021, TDOC file either (1) a Notice of a plan to provide such access within six months of

May 5, 2021 or (2) a detailed explanation for why such an accommodation would be unreasonable,

including specific cost determinations related to any proposals suggested by the plaintiffs. (Id.).

      Pursuant to the Court’s Order, TDOC respectfully reports that it diligently pursued a plan to

enable inmate Collins to have access to a videophone without the need for assistance,

accompaniment or special supervision by prison officials. It did not pursue a plan for inmate

Stinnett as the matter was moot for inmate Stinnett as he was released from prison on parole on

April 29, 2021.

      Inmate Collins resides in Northeast Correctional Complex (NECX)’s main compound. On

June 17, 2021, TDOC was able to install a videophone in inmate Collins’ housing unit so that

Inmate Collins can access it without the involvement of prison officials, during the hours that




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hearing inmates may use telephones. Inmate Collins has made many videophone calls since the

installation. However, he states that he is having some difficulty with the quality of the calls. But,

before that issue was worked out, he twice requested placement in protective custody. While in

protective custody, he was given access to a videophone on par with hearing inmates in protective

custody’s access to telephones. Since the inmates are in protective custody, they cannot access

telephonic communications without the assistance of correction officers (to protect them from

physical harm). Mr. Collins was in protective custody twice, for two or three days at a time. He is

now residing again in the main compound. However, Mr. Collins is expected to be released from

prison on parole within a couple of weeks. He was granted parole on May 14, 2021, subject to a

pre-release condition that he complete a cognitive behavioral intervention programming class.

Mr. Collins was expected to complete the class on July 27, 2021. Persons involved in the parole

release process are currently working on Mr. Collins’ case.

                                                      Respectfully submitted,

                                                      HERBERT H. SLATERY III
                                                      Attorney General and Reporter

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                                   CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2021, the foregoing was filed electronically pursuant to
the Federal Court’s electronic filing system. A copy will be served electronically pursuant to said
system to all parties who have appeared electronically:

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